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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

 JEFFREY D. TREVILLION, Special        )
 Adm’r for the Estate of MAURICE       )
 PENDLETON, deceased,                  )
                                       )
                            Plaintiff, )
                                       )
 vs.                                   )                   Case No. 18-cv-0707-G
                                       )
 BD. of OKLA. CTY. COMM’RS for         )
 OKLA. CTY., OKLA., et al.,            )
                                       )
                          Defendants. )

     MOTION OF DEFENDANT, BOARD OF COUNTY COMMISSIONERS
        OF OKLAHOMA COUNTY FOR STIPULATED JUDGMENT

         1.      This matter was amicably settled.

         2.      In order to effectuate the settlement, the Board of County Commissioners

of Oklahoma County (“BOCC”) requests that the Court approve the settlement pursuant

to 51 OS §158(A).

         3.      The terms of the settlement are that the Plaintiff has agreed to a Stipulated

Judgment against the BOCC in the amount of $1,250,000.00. A proposed Stipulated

Judgment will be submitted separately in accord with the ECF Manual.

         4.      The Plaintiff has authorized entry of the Stipulated Judgment.

         5.      The Plaintiff and BOCC agree that no known outstanding liens exist that

have not been retired by an agreement between Plaintiff and any lienholder.

         6.      The parties have agreed that each shall absorb their own attorney fees and

costs.
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      7.      The proposed Stipulated Judgment is also supported by a written common

law release of all claims and releases the BOCC and all employees and officials.

      8.      The parties have agreed to waive any hearing by the Court regarding the

foregoing and the proposed Stipulated Judgment.

                                                Respectfully submitted,

                                                s/ Randall J. Wood
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                                                County




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                             CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2021, I electronically transmitted the attached doc-
ument to the Clerk of Court using the ECF System for filing and transmittal of a Notice
of Electronic Filing to the following ECF registrants:

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